                     IN THE UNITEDDocument
     Case 5:21-cr-00009-LGW-BWC   STATES DISTRICT  COURT
                                           234 Filed 12/17/21                 Page 1 of 2
                    FOR THE SOUTHERN DISTRICT OF GEORGIA
                              WAYCROSS DIVISION



UNITED STATES OF AMERICA,

v.                                              5:21-cr-0009

ENRIQUE DUQUE TOVAR,
Defendant.


               DEFENDANT’S RESPONSE TO GOVERNMENT’S MOTION

        COMES NOW, ENRIQUE DUQUE TOVAR, Defendant above styled, and hereby files

this, his response to Government’s Motion to Maintain Custody of Seized Property (See ECF

Doc. No. 98). Defendant has no objection to the Government’s motion to maintain custody of

seized property.


        Respectfully submitted this 17th day of December, 2021.




                                                    /s/ S. DeLeigh Poole
                                                    S. DeLeigh Poole
                                                    The Poole Law Group, LLC
                                                    Attorney for Defendant E. Duque Tovar
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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF GEORGIA
                               WAYCROSS DIVISION


UNITED STATES OF AMERICA,

v.                                               5:21-cr-0009

ENRIQUE DUQUE TOVAR,
Defendant.



                                 CERTIFICATE OF SERVICE

       This is to certify that I have on this day served all parties in this case with the attached

Defendant’s Response in accordance with the directives from the Court Notice of Electronic

Filing (“NEF”) which was generated as a result of this electronic filing.


       Respectfully submitted this 17th day of December, 2021.




                                                     /s/ S. DeLeigh Poole
                                                     S. DeLeigh Poole
                                                     The Poole Law Group, LLC
                                                     Attorney for Defendant E. Duque Tovar
                                                     Georgia Bar No.: 164602

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